                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-00968-GPG-STV

EZAMIKA BROWN,

      Plaintiff,

v.

MARQUEZ, SERGEANT,
JUAREZ, CORRECTIONAL OFFICER,
MARK FAIRBAIRN, WARDEN,
LORENZO TOBIN, CAPTAIN,
LINDSAY GOUTY, HEALTH SERVICE ADMINISTRATOR,
NURSE LISA HANKS,
NURSE RAMONA,

      Defendants.

                          CDOC DEFENDANTS ANSWER TO
                   PLAINTIFF’S AMENDED COMPLAINT (ECF NO. 45)

      Defendants Moraima Marquez, Jeremiah Juarez, Mark Fairbairn, Lorenzo Tobin,

Lindsay Gouty, and Lisa Hanks (collectively, CDOC Defendants)1, by and through the

Colorado Attorney General, respectfully submits his Answer and Affirmative Defenses to

Plaintiff’s Amended Complaint. ECF No. 45.

                                  GENERAL DENIAL

      CDOC Defendants deny each and every allegation contained in Plaintiff’s

Complaint not specifically admitted herein.




1 Nurse Ramona has not yet been served and is not currently represented by the

Colorado Attorney General’s office. ECF No. 10.
A. PLAINTIFF INFORMATION

  Admitted.

B. DEFENDANT(S) INFORMATION

  Defendant 1: Sergeant Marquez and Correctional Officer Juarez: Sgt. Marquez

  and Correctional Officer Juarez admit that they were employed by the Colorado

  Department of Corrections (CDOC) as correctional officers at all times relevant to

  this action but deny that they violated any of Plaintiff’s rights or that he is entitled

  to any relief he seeks.

  Defendant 2: Warden Mark Fairbairn and Captain Lorenzo Tobin: Warden

  Fairbairn admits that he was employed by the Colorado Department of

  Corrections (CDOC) as warden of Arkansas Valley Correctional Facility (AVCF)

  at all times relevant to this action. Capt. Tobin admits that he was employed by

  CDOC as a correctional officer and was serving as a Shift Commander at all

  times relevant to this action. Warden Fairbairn and Capt. Tobin deny that they

  have violated any of Plaintiff’s rights or that he is entitled to any relief he seeks.

  Defendant 3: Lindsay Gouty (HSA) – Health Services Administrator: HSA Gouty

  admits that she was employed by CDOC and was serving as an HSA at AVCF at

  all times relevant to this action but denies that she has violated any of Plaintiff’s

  rights or that he is entitled to any relief he seeks.

  Defendant 4: Nurse Lisa (Lisa Hanks) – Defendant Hanks admits that she was

  employed by CDOC as a nurse at all times relevant to this action but denies that


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       she has violated any of Plaintiff’s rights or that he is entitled to any relief he

       seeks.

   C. JURISDICTION

       CDOC Defendants admit that they are being sued pursuant to 42 U.S.C. § 1983.

       To the extent this paragraph can be construed as raising allegations of operative

       fact against CDOC Defendants, the same are denied.

   D. STATEMENT OF CLAIMS

CLAIM ONE: DELIBERATE INDIFFERENCE AGAINST DEFENDANTS MARQUEZ
AND JUAREZ AND EXCESSIVE FORCE AGAINST DEFENDANT MARQUEZ

       As a preliminary matter, Plaintiff structures Claim One as containing two distinct

causes of action: one against defendants Marquez and Juarez for deliberate

indifference to a serious medical need in their “gatekeeper” roles, and a separate

excessive force claim against defendant Marquez arising solely from her purported

application and/or removal of Plaintiff’s handcuffs. There are also some paragraphs in

Claim One that contain allegations against Defendant Hanks even though she is not

listed as a defendant in the heading of the Claim. Defendant Hanks will respond only to

those allegations that directly identify or which appear to imply her involvement.

       1.       CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

       2.       CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.




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        3.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        4.    Defendant Hanks is without sufficient information to form a belief as to the

allegations raised herein.

        5.    Defendant Hanks denies the allegations set forth in this paragraph.

        6.    Defendant Hanks admits to telling Plaintiff to return to his housing unit to

declare a medical emergency but cannot confirm that the words attributed to her are

verbatim. Defendant Hanks denies the remaining allegations in this paragraph.

        7.    Defendant Hanks admits that Plaintiff was told to go back to his housing

unit to declare a medical emergency. Nurse Hanks is without sufficient information to

form a belief as to the remaining allegations raised herein and therefore denies the

same.

        8.    Defendant Juarez admits that Plaintiff was told to go back to his housing

unit to declare a medical emergency. Defendant Juarez is without sufficient information

to form a belief as to the remaining allegations raised herein and therefore denies the

same.

        9.    Defendant Juarez is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

        10.   Defendant Marquez admits she spoke to Plaintiff but denies the remaining

allegations in this paragraph.




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        11.   Defendant Marquez admits that Plaintiff stated he needed medical

treatment but is without sufficient information to form a belief as to the remaining

allegations in this paragraph and therefore denies the same.

        12.   Defendant Marquez admits telling Plaintiff to return to his housing unit to

declare a medical emergency. Defendant Marquez denies the remaining allegations in

this paragraph.

        13.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        14.   Defendant Marquez admits Plaintiff was placed in wrist restraints.

Defendant Marquez denies the remaining allegations in this paragraph.

        15.   CDOC Defendants deny the allegations in this paragraph.

        16.   Defendant Marquez denies the allegations in this paragraph.

        17.   Defendants Marquez and Juarez deny the allegations in this paragraph.

        18.   CDOC Defendants admit that Exhibit A purports to be an affidavit from

inmate Larry Fuller (#54946). CDOC Defendants are without sufficient information to

form a belief as to the remaining allegations in this paragraph and therefore deny the

same.

        19.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        20.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.


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        21.   Defendants Juarez, Marquez, and Hanks admit that Plaintiff asked to

declare a medical emergency. These Defendants are without sufficient information to

form a belief as to the remaining allegations in this paragraph and therefore deny the

same.

        22.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        23.   CDOC Defendants deny the allegations in this paragraph.

        24.   CDOC Defendants admit that Plaintiff’s hands were cuffed behind his

back. DOC Defendants are without sufficient information to form a belief as to the

remaining allegations in this paragraph and therefore deny the same.

        25.   Defendant Marquez admits that Captain Tobin ordered that the handcuffs

be removed off Plaintiff. Defendant Marquez is without sufficient information to from a

belief as to the remaining allegations herein and therefore denies the same.

        26.   Defendant Marquez denies the allegations in this paragraph.

        27.   Defendant Marquez denies the allegations in this paragraph.

        28.   Defendant Marquez is without sufficient information to form a belief as to

the allegations raised herein and therefore denies the same.

        29.   Defendant Marquez denies the allegations in this paragraph.

        30.   CDOC Defendants deny the allegations in this paragraph.

        31.   CDOC Defendants deny the allegations in this paragraph.

        32.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.
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        33.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        34.   CDOC Defendants admit Plaintiff was seen by the AVCF medical

department and transported to the hospital. CDOC Defendants are without sufficient

information to form a belief as to the allegations raised herein and therefore deny the

same.

        35.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        36.   CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

        37.   CDOC Defendants admit Plaintiff was taken to the hospital on August 11,

2023. CDOC Defendants are without sufficient information to form a belief as to the

allegations raised herein and therefore deny the same.

        38.   Defendants Juarez and Marquez deny the allegations in this paragraph.

        39.   Defendants Juarez and Marquez deny the allegations in this paragraph.

        40.   Defendant Marquez denies the allegations in this paragraph.

        41.   CDOC Defendants deny the allegations in this paragraph.

        42.   CDOC Defendants admit CDOC retained video footage of the incident

giving rise to the claims in this case. CDOC Defendants deny the remaining allegations

in this paragraph.

CLAIM TWO: FAILURE TO TRAIN, FAILURE TO SUPERVISE, FAILURE TO
INVESTIGATE, POLICIES/CUSTOMS/PRACTICES AGAINST DEFENDANTS
FAIRBAIRN AND TOBIN
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       Defendants Fairbairn and Tobin incorporate all previous responses to Plaintiff’s

allegations as if set forth at length herein. Defendants Fairbairn and Tobin deny the

allegations against them contained in the unenumerated introductory paragraph.

       43.    Defendants Fairbairn and Tobin are without sufficient information to form a

belief as to the allegations raised herein and therefore deny the same.

       44.    Defendants Fairbairn and Tobin deny the allegations in this paragraph.

       45.    Defendants Fairbairn and Tobin deny the allegations in this paragraph.

       46.    Defendant Fairbairn is without sufficient information to form a belief as to

the allegations raised herein and therefore denies the same. To the extent Plaintiff

refers to CDOC policies, no response is required; the policies speak for themselves.

       47.    Defendant Tobin is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same. To the extent Plaintiff refers to

CDOC policies, no response is required; the policies speak for themselves.

       48.    CDOC Defendants deny the allegations in this paragraph. To the extent

Plaintiff refers to CDOC policies, no response is required; the policies speak for

themselves.

       49.    CDOC Defendants admit that AVCF has a medical department. CDOC

Defendants are without sufficient information to form a belief as to the allegations raised

herein and therefore deny the same.

       50.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.


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       51.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

       52.    Defendants Fairbairn and Tobin are without sufficient information to form a

belief as to the allegations raised herein and therefore deny the same.

       53.    CDOC Defendants deny the allegations in this paragraph. To the extent

Plaintiff refers to CDOC policies, no response is required; the policies speak for

themselves.

       54.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same. To the extent Plaintiff cites

authority or refers to CDOC policies, no response is required; the cases and policies

speak for themselves.

       55.    CDOC Defendants deny the allegations in this paragraph.

       56.    Defendants Fairbairn and Tobin deny the allegations in this paragraph.

       Defendants Fairbairn and Tobin deny the allegations against them contained in

the unenumerated sentence between paragraphs 56 and 57.

       57.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

       58.    CDOC Defendants admit CDOC retained video footage of the incident

giving rise to the claims in this case. CDOC Defendants deny the remaining allegations

in this paragraph.




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       59.    Defendants Fairbairn and Tobin deny the allegations in this paragraph. To

the extent Plaintiff cites authority, no response is required; the cases speak for

themselves.

       60.    CDOC Defendants deny the allegations in this paragraph.

       61.    CDOC Defendants deny the allegations in this paragraph.

       62.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

       63.    CDOC Defendants deny the allegations in this paragraph.

       64.    CDOC Defendants admit CDOC retained video footage of the incident

giving rise to the claims in this case. CDOC Defendants deny the remaining allegations

in this paragraph.

       65.    CDOC Defendants deny the allegations in this paragraph.

       66.    CDOC Defendants deny the allegations in this paragraph.

       67.    CDOC Defendants deny the allegations in this paragraph.

       68.    CDOC Defendants deny the allegations in this paragraph.

       69.    CDOC Defendants are without sufficient information to form a belief as to

the allegations raised herein and therefore deny the same.

       70.    Defendants Fairbairn and Tobin deny the allegations in this paragraph.

       71.    Defendants Fairbairn and Tobin deny the allegations in this paragraph. To

the extent Plaintiff refers to CDOC policies, no response is required; the policies speak

for themselves.


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CLAIM THREE: HEALTH SERVICES ADMINISTRATOR LINDSAY GOUTY’S
FAILURE TO TRAIN, FAILURE TO SUPERVISE, FAILURE TO INVESTIGATE,
POLICIES/CUSTOMS/PRACTICES CAUSING CONSTITUTIONAL VIOLATIONS

      Defendant Gouty incorporates all previous responses to Plaintiff’s allegations as

if set forth at length herein. Defendant Gouty denies the allegations against her

contained in the unenumerated introductory paragraph.

      72.    Defendant Gouty admits that she trains and supervises medical staff.

Defendant Gouty denies the remaining allegations in this paragraph.

      73.    Defendant Gouty denies the allegations in this paragraph.

      74.    Defendant Gouty denies the allegations in this paragraph.

      75.    Defendant Gouty denies the allegations in this paragraph.

      76.    Defendant Gouty is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same. To the extent Plaintiff refers to

CDOC policies, no response is required; the policies speak for themselves.

      77.    Defendant Gouty is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same. To the extent Plaintiff refers to

CDOC policies, no response is required; the policies speak for themselves.

      78.    To the extent Plaintiff cites authority or refers to CDOC policies, no

response is required; the cases and policies speak for themselves.

      79.    Defendant Gouty denies the allegations in this paragraph.

      80.    Defendant Gouty is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

      81.    Defendant Gouty denies the allegations in this paragraph.
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      82.    CDOC Defendants deny the allegations in this paragraph.

      83.    Defendant Gouty denies the allegations in this paragraph.

      84.    Defendant Gouty is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

      85.    Defendant Gouty is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

      86.    Defendant Gouty denies the allegations in this paragraph.

CLAIM FOUR: DEFENDANT NURSE LISA (LISA HANKS) AND NURSE RAMONA
DELIBERATE INDIFFERENCE TO BROWN’S SERIOUS MEDICAL NEED.

      Defendant Hanks incorporates all previous responses to Plaintiff’s allegations as

if set forth at length herein. CDOC Defendants deny the allegations against them

contained in the unenumerated introductory paragraph.

      87.    Defendant Hanks is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

      88.    To the extent Plaintiff cites authority or refers to CDOC policies, no

response is required; the cases and policies speak for themselves.

      89.    Defendant Hanks denies the allegations set forth in this paragraph.

      90.    Defendant Hanks is without sufficient information to form a belief as to the

allegations raised herein and therefore denies the same.

      91.    Defendant Hanks denies the allegations set forth in this paragraph.




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      92.    Defendant Hanks admits telling Plaintiff to return to his housing unit to

declare a medical emergency. Defendant Hanks denies the remaining allegations in this

paragraph.

      93.    Defendant Hanks denies the allegations set forth in this paragraph.

   E. PREVIOUS LAWSUITS

      CDOC Defendants are without sufficient information to form a belief as to the

allegations herein and therefore deny the same.

   F. ADMINISTRATIVE REMEDIES

      CDOC Defendants are without sufficient information to form a belief as to the

allegations herein and therefore deny the same.

   G. REQUEST FOR RELIEF

      CDOC Defendants deny that Plaintiff should be afforded any of the relief set forth

herein.

   H. PLAINTIFF’S SIGNATURE

      This paragraph does not contain any allegations of operative fact. Accordingly,

no response is required.

                    SEPARATE AND AFFIRMATIVE DEFENSES

      1.     Plaintiff’s Complaint fails, in whole or in part, to state a claim upon which

relief may be granted against CDOC Defendants.

      2.     Plaintiff’s claims are limited or barred by sovereign immunity pursuant to

the Eleventh Amendment, as well as absolute, limited or qualified immunity.


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       3.     CDOC Defendants affirmatively assert that Plaintiff’s federal and state

rights were not violated and that Plaintiff has been afforded all the rights, privileges and

immunities granted by the United States Constitution and Colorado law.

       4.     CDOC Defendants affirmatively assert that they followed the regulations

and procedures established by the CDOC and all other applicable laws and regulations,

with respect to the claims at issue.

       5.     CDOC Defendants’ actions, applicable CDOC regulations, and applicable

laws are supported by legitimate penological interests, goals and objectives.

       6.     CDOC Defendants’ actions, applicable CDOC regulations, and applicable

laws are supported by compelling interests, goals and objectives, and constitute the

least restrictive means of effectuating those interests, goals and objectives.

       7.     Plaintiff’s claims may be barred in whole or in part by the Prison Litigation

Reform Act, 42 U.S.C. § 1997e, including, but not limited to, the physical injury and

exhaustion requirements.

       8.     Plaintiff’s claims against CDOC Defendants may be barred in whole or in

part by the applicable statute(s) of limitations.

       9.     CDOC Defendants may not be held liable under an impermissible theory

of respondeat superior.

       10.    Plaintiff’s claims may be barred in whole or in part by the doctrines of

collateral estoppel and res judicata.

       11.    Plaintiff is not entitled to any relief being sought or claimed in the

Complaint under the legal theories asserted therein.
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          12.   Plaintiff’s claims fail to state a claim upon which relief can be granted as

CDOC Defendants may not have personally participated in the events complained of.

          13.   Plaintiff may have failed to mitigate his damages, if any.

          14.   Plaintiff’s claimed damages, if any, may have been caused by individual(s)

or entity(ies) over whom or which Defendants have or had no control.

          15.   Plaintiff’s injuries and damages, if any, were either pre-existing or not

aggravated by any alleged acts or omissions of or by CDOC Defendants, nor were they

proximately caused by or related to any alleged acts or omissions of CDOC Defendants.

          16.   Plaintiff’s claims may be barred or limited by the doctrines of waiver,

estoppel, and laches.

          17.   Plaintiff’s claimed damages may have been caused by the negligence of

Plaintiff.

          18.   Plaintiff’s claims for damages are limited and/or subject to all applicable

damages limitations and other similar provisions of both federal and state law. This

includes but is not limited to the PLRA’s limitations on the recovery of compensatory

damages.

          19.   Plaintiff may have failed to fulfill all conditions precedent to bringing this

action.

          20.   Defendants reserve the right to assert additional defenses that become

known during the course of discovery.

                                        JURY DEMAND

          CDOC Defendants respectfully request a trial by jury.
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      Respectfully submitted on this 27th day of January, 2025,



                                          PHILIP J. WEISER
                                          Attorney General


                                          s/ Abigail L. Smith
                                          ABIGAIL L. SMITH*
                                          JOSHUA URQUHART*
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                                          Denver, CO 80203
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                                          E-Mail: abigail.smith@coag.gov
                                          *Attorneys of Record

                              CERTIFICATE OF SERVICE

      This is to certify that I have duly served the within CDOC DEFENDANTS

ANSWER TO PLAINTIFF’S AMENDED COMPLAINT (ECF NO. 45) herein by e-filing

with the CM/ECF system maintained by the court on January 27, 2025, and by depositing

copies of same in the United States mail, first-class postage prepaid, at Denver,

Colorado, on January 28, 2025 addressed as follows:


 Ezamika Brown #116759                   Courtesy copy e-mailed to client Representative:
 Arkansas Valley Correctional Facility   Anthony DeCesaro,
 12750 Highway 96 at Lane 13             Associate Director of Legal Services, CDOC
 Ordway, CO 81034
 Plaintiff, Pro Se



                                         s/ James Mules

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